           Case 3:24-cv-00065-MMD-CSD   Document 134     Filed 09/27/24   Page 1 of 2


1    AARON D. FORD
       Attorney General
2    MARNI K. WATKINS (Bar No. 9674)
       Chief Litigation Counsel
3    SABRENA K. CLINTON (Bar No. 6499)
       Deputy Attorney General
4    IVA K. TODOROVA (Bar No. 15827)
       Senior Deputy Attorney General
5    State of Nevada
     Office of the Attorney General
6    1 State of Nevada Way, Suite 100
     Las Vegas, NV 89119
7    (702) 486-3420 (phone)
     (702) 486-3768 (fax)
8    mkwatkins@ag.nv.gov
     sclinton@ag.nv.gov
9    itodorova@ag.nv.gov

10   Attorneys for Governor Joseph Lombardo and
     Attorney General Aaron Ford
11

12                            UNITED STATES DISTRICT COURT

13                                  DISTRICT OF NEVADA

14   JANE DOE;
                                                  Case No. 3:24-cv-00065-MMD-CSD
15            Plaintiff,

16   vs.

17   JOSEPH LOMBARDO, Governor of                  JOINDER TO DEFENDANTS NYE,
     Nevada in his official capacity; AARON         ELKO AND STOREY COUNTIES’
18   FORD, Attorney General of Nevada in his        REPLY IN SUPPORT OF MOTION
     official capacity; NYE COUNTY; ELKO           FOR CERTIFICATION AND ENTRY
19   COUNTY; STOREY COUNTY; WESTERN                OF FINAL JUDGMENT PURSUANT
     BEST, INC, D/B/A CHICKEN RANCH;                     TO FRCP RULE 54(d)
20   WESTERN BEST, LLC; DESERT ROSE
     CLUB, LLC; HACIENDA ROOMING
21   HOUSE, INC. D/B/A BELLA’S
     HACIENDA RANCH; MUSTANG RANCH
22   PRODUCTIONS, LLC D/B/A MUSTANG
     RANCH LOUNGE, LLC; LEONARD
23   “LANCE” GILMAN in his official capacity;
     and LEONARD “LANCE” GILMAN, in his
24   individual capacity,

25            Defendant(s).

26           Defendants Governor Joseph Lombardo (“Governor Lombardo”) and Attorney

27   General Aaron Ford (“AG Ford”), (collectively, “State Defendants”), by and through their

28   undersigned counsel hereby respectfully joins Defendants Nye, Elko and Storey Counties’



                                           Page 1 of 2
       Case 3:24-cv-00065-MMD-CSD        Document 134     Filed 09/27/24   Page 2 of 2


1    (collectively “County Defendants”) Reply in Support of Motion for Certification and Entry
2    of Final Judgment Pursuant to FRCP Rule 54(d) [ECF 133] as it pertains to Government
3    Defendants.
4          DATED this 27th day of September, 2024.
5                                          AARON FORD
                                           Attorney General
6
                                           By: /s/ Sabrena K. Clinton
7                                             Marni K. Watkins (Bar No. 9674)
                                                Chief Litigation Counsel
8                                             Sabrena K. Clinton (Bar No. 6499)
                                                Deputy Attorney General
9                                             Iva K. Todorova (Bar No. 15827)
                                                Senior Deputy Attorney General
10                                            1 State of Nevada Way, Suite 100
                                              Las Vegas, NV 89119
11                                            (702) 486-3420 (phone)
                                              (702) 486-3768 (fax)
12                                            mkwatkins@ag.nv.gov
                                              sclinton@ag.nv.gov
13                                            itodorova@ag.nv.gov
                                              Attorneys for Governor Joseph Lombardo and
14                                            Attorney General Aaron Ford
15

16

17

18

19
20

21

22

23

24

25

26

27

28



                                            Page 2 of 2
